                     Case 6:20-cv-00726-ADA Document 26 Filed 11/20/20 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 Western District
                                             __________  District of
                                                                  of __________
                                                                     Texas


               WSOU INVESTMENTS, LLC                           )
                             Plaintiff                         )
                                v.                             )      Case No.     6:20-cv-00726-ADA
   HEWLETT PACKARD ENTERPRISE COMPANY                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant Hewlett Packard Enterprise Company                                                                 .


Date:          11/20/2020                                                            /s/ Michael R. Franzinger
                                                                                         Attorney’s signature


                                                                            Michael R. Franzinger, DC Bar No. 500080
                                                                                     Printed name and bar number
                                                                                       SIDLEY AUSTIN LLP
                                                                                       1501 K Street, N.W.
                                                                                      Washington, D.C. 20005

                                                                                               Address

                                                                                     mfranzinger@sidley.com
                                                                                            E-mail address

                                                                                          (202) 736-8000
                                                                                          Telephone number

                                                                                          (202) 736-8711
                                                                                             FAX number
